Order filed August 2, 2012









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                                   In The

                         Fourteenth Court of Appeals

                                ____________

                             NO. 14-12-00301-CV
                                ____________

                         James E. Simons, Appellant

                                     v.

                         Montserrat Monray, Appellee


                   On Appeal from the 308th District Court
                            Harris County, Texas
                      Trial Court Cause No. 2009-55484



                                  O R D E R

      Appellant=s brief was due  June  4,  2012.  No  brief  or  motion  for
extension of time has been filed.

      Unless appellant files his brief, and a motion  reasonably  explaining
why the brief was late, with the clerk of this court  on  or  before  August
17, 2012, the court will dismiss the appeal for  want  of  prosecution.  See
Tex. R. App. P. 42.3(b).




                                  PER CURIAM

